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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

 PENINSULA PETROLEUM FAR             §     CIVIL ACTION NO. 3:22-CV-241-L
 EAST PTE. LTD.                      §
                                     §
 VERSUS                              §
                                           IN ADMIRALTY, RULE 9(H)
                                     §
 CRYSTAL CRUISES, LLC & STAR
                                     §
 CRUISES (HK) LIMITED
                                     §




                          MEMORANDUM IN SUPPORT OF

                   MOTION TO VACATE RULE B ATTACHMENT




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        Crystal Cruises, LLC and Mark C. Healy, assignee of Crystal Cruises, LLC,1 appearing

specially and restrictively and solely as Claimants of the garnishment proceeds herein, and

respectfully submit this Memorandum in support of their Motion to Vacate the Rule B Attachments

in this matter. See Rec. Docs. 18 & 20.2

I.      BACKGROUND

        This matter arises out of the recent commercial difficulties of Crystal Cruises, an American

company that operated luxury cruise ships owned by various Hong Kong entities. As is relevant

here, Crystal Cruises was the bareboat charterer of the CRYSTAL SYMPHONY and the

CRYSTAL SERENITY, two luxury cruise vessels operating out of Miami, Florida. In its

Complaint in this matter, Peninsula Petroleum Far East Pte. Ltd. (hereinafter “Plaintiff”) alleges

that it provided “bunkers” to the SYMPHONY and the SERENITY on various dates in January

2022 in the port of Miami.3 It further alleges that Crystal Cruises ordered the bunkers from

Plaintiff, but the Complaint does not provide any further details of the alleged transaction(s).4

Plaintiff claims that Crystal Cruises owes it approximately $2.1 million.

        The present action in this Court is not the first time that Plaintiff has filed a lawsuit based

on this alleged debt. On January 19, 2022, Plaintiff filed a lawsuit against Crystal Cruises in the



        1
         Mr. Healy is the assignee of all of Crystal Cruises’ assets pursuant to a Petition Commencing
Assignment for the Benefits of Creditors filed in the Circuit Court of the Eleventh Judicial Circuit in Miami-
Dade County, Florida. See Exhibit A, Appendix at p. 3. Crystal Cruises and Mr. Healy jointly bring this
Motion to Vacate the Rule B Attachment.
        2
           Rec. Docs. 18 & 20 are the two Writs of Attachment that are in the public record. A significant
portion of the record is currently sealed and so Crystal Cruises cannot presently ascertain whether any
additional writs were issued. This motion is intended to apply to any and all Rule B attachments issued in
this case.
        3
          Rec. Doc. 1 at ¶ 9. “Bunkers” or “bunker fuel” is the term for fuel oil used to power modern
vessels and the term is derived from the tank in which the fuel is stored.
        4
          Rec. Doc. 1 at ¶ 7. Plaintiff also alleges various sales to Star Cruises (HK), but its claims against
Star are not at issue on this motion.

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U.S. District Court for the Southern District of Florida, where Crystal Cruises is subject to personal

jurisdiction because its principal place of business is located in Miami (hereinafter, the “Miami

Lawsuit”).5 In the Miami Lawsuit, Plaintiff asserted the exact same allegations, the exact same

claims, and seeks the exact same amounts that it seeks here (i.e. a $2.1 million judgment against

Crystal Cruises). Crystal Cruises was recently served with the Miami Lawsuit and will respond in

due course to that action.6

        On February 1, 2022, Plaintiff successfully obtained warrants of arrest in the

Bahamas for both the SYMPHONY and the SERENITY. Thus, Plaintiff has successfully attached

both vessels and, in the process, obtained security for its claims regarding the bunkers at issue.7

        Not content to pursue Crystal Cruises in the forum of Plaintiff’s own choosing (Miami),

nor content to have arrested two large luxury cruise vessels as security for its claims (in the

Bahamas), Plaintiff subsequently filed three additional actions. On February 1, 2022, Plaintiff

filed this action and an almost identical action in the Southern District of Texas. The two Texas

lawsuits purport to assert the same causes of action for breach of an alleged maritime contract for

the same bunkers as the Miami Lawsuit, but the Texas lawsuits seek pre-judgment security for

those claims in the form of garnishments of Crystal Cruises’ bank accounts.8




        5
          See Peninsula Petroleum Far East Pte. Ltd. v. M/V CRYSTAL SYMPHONY, et al, No. 1:22-cv-
20230 (S.D. Fla. filed Jan. 19, 2022). A copy of the complaint in that matter is included in the appendix
for the Court’s convenience. See Exhibit B, Appendix at p. 12.
        6
         In the Miami Lawsuit, Plaintiff also sought a Rule C arrest of the SYMPHONY, but that arrest
was not perfected because the SYMPHONY went into port in the Bahamas instead of Miami.
        7
        Copies of the Bahamas arrests are included in the appendix. See Exhibit C (SYMPHONY),
Appendix at p. 19, and Exhibit D (SERENITY), Appendix at p. 29..
        8
         Plaintiff also filed a third action seeking a Rule B attachment in the Central District of California.
Peninsula Petroleum Far East Pte. Ltd. v. Crystal Cruises, LLC, et al., No. 2:22-cv-898 (C.D. Cal., filed
Feb. 9, 2022). That court initially declined to issue any Rule B attachment and ordered the Plaintiff to
submit a supplemental submission to the court, after which Plaintiff voluntarily dismissed the action.

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         Plaintiff is prosecuting its admiralty claims in this case under the Supplemental Rules for

Admiralty or Maritime Claims and Asset Forfeiture Actions (the “Supplemental Rules”).

Specifically, Plaintiff sought its garnishment under Supplemental Rule B, based on the bald

allegation that Crystal Cruises breached an alleged contract with Plaintiff. Based on Plaintiff’s ex

parte motion, the Court issued writs of attachment of Crystal Cruises’ bank accounts pursuant to

Supplemental Rule B. It appears that Plaintiff chose to bring its action here for the sole purpose

of obtaining a Rule B attachment of Crystal Cruises’ assets before judgment.

         Supplemental Rule E(4)(f) provides that “[w]henever property is arrested or attached, any

person claiming an interest in it shall be entitled to a prompt hearing at which the plaintiff shall be

required to show why the arrest or attachment should not be vacated or other relief granted

consistent with these rules.” Accordingly, Crystal Cruises and its assignee Mark Healy now

challenge the Rule B attachments of the bank accounts and respectfully request that the Court

vacate the attachments for the reasons discussed below.

II.      LAW AND ARGUMENT

         The principal purpose of Rule B is to provide a mechanism by which a plaintiff can obtain

jurisdiction over an otherwise-absent defendant. A secondary purpose is to permit a plaintiff to

obtain prejudgment security for an admiralty claim. Neither purpose is accomplished by Plaintiff’s

attachments in this proceeding. First, several weeks before filing this suit, Plaintiff filed suit in a

forum (Miami) in which Crystal Cruises is subject to personal jurisdiction. Thus, Plaintiff had

already obtained personal jurisdiction over Crystal Cruises (in a forum of Plaintiff’s choosing no

less) before it sought the Rule B attachments in this case. Second, Plaintiff has arrested the two

luxury cruise vessels to which it allegedly provided the bunkers at issue and thus has already




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obtained more than adequate security for its claims.9 Because no legitimate purpose is served by

continuing the Rule B attachments in this action, Crystal Cruises and its assignee Mark Healy

respectfully request that the Court vacate the Rule B attachments issued in this case.10

        A.      General Principles Regarding Rule B Attachments

        Supplemental Rule B permits a plaintiff with a claim against an absent defendant to attach

the defendant’s property if the plaintiff can show that “(1) the plaintiff has a valid prima facie

admiralty claim against the defendant; (2) the defendant cannot be found within the district; (3)

the defendant’s property may be found within the district; and (4) there is no statutory or maritime

law bar to the attachment.” Austral Asia Pte. Ltd. v. SE Shipping Lines Pte. Ltd., No. 12-1600,

2012 WL 2567149, at *1 (E.D. La. July 2, 2012).

        Property owners have long claimed that the ex parte nature of Rule B attachments violates

the procedural due process clause of the Fifth Amendment to the United States Constitution. See

e.g., Trans-Asiatic Oil Ltd. S.A. v. Apex Oil Co., 743 F.2d 956, 958 (1st Cir. 1984). Those

challenges have been unsuccessful only because property owners are entitled to a prompt post-

attachment hearing under Supplemental Rule E(4)(f): “Whenever property is arrested or attached,

any person claiming an interest in it shall be entitled to a prompt hearing at which the plaintiff

shall be required to show why the arrest or attachment should not be vacated.” Supplemental Rule

E(4)(f). Courts have held that “[a]n immediate postattachment hearing strikes a workable balance

between the creditor’s need to reach the property before it leaves the court’s jurisdiction and a




        9
        The SYMPHONY and the SERENITY are together worth well more than $100 million—an
enormous sum in comparison to Plaintiff’s $2 million claim.
        10
           While the merits of Plaintiff’s claims, and its contention that it had a maritime contract with
Crystal Cruises, are hotly disputed, it is not necessary for the Court to consider Plaintiff’s claims on the
merits to resolve this motion. Crystal Cruises and its assignee Mark Healy reserve all rights to contest the
merits of Plaintiff’s allegations at the appropriate time, if necessary.

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debtor’s fear that his property will be unjustly attached” and that “[s]uch a hearing provides a

maritime debtor with the process he is due.” Schiffahartsgesellschaft Leonhardt & Co. v. A.

Bottacchi S.A. De Navegacion, 773 F.2d 1528, 1539 (11th Cir. 1985).11 Accordingly, Crystal

Cruises and Healy are entitled to a prompt hearing to determine whether the Rule B attachment in

this case should be vacated.

        “For purposes of a Rule E(4)(f) post-arrest hearing, superficial compliance with Rule B,

while necessary, is not sufficient in determining whether maritime attachment is appropriate.”

Austral Asia, 2012 WL 2567149 at *1. Indeed, “[t]he attachment must be vacated unless the

attaching party presents sufficient evidence to show probable cause for the attachment.”

Richardson Stevedoring & Logistics Servs., Inc. v. Daebo Int’l Shipping Co., No. 15-490, 2015

WL 893518, at *2 (E.D. La. Mar. 2, 2015) (emphasis added).

        B.      Rule B Attachments Can Be Vacated on Equitable Grounds

        “In addition to its authority to vacate an attachment due to a plaintiff’s failure to satisfy the

requirements of Supplemental Rules B and E, a district court also has equitable discretion to vacate

an attachment.” Knox v. Hornbeck Offshore Serv., LLC, No. 19-181, 2019 WL 3203396, at *2

(S.D. Tex. July 16, 2019) (citing Aqua Stoli Shipping Ltd. v. Gardner Smith Pty Ltd., 460 F.3d

434, 445 (2d Cir. 2006), abrogated on other ground by Shipping Corp. of India Ltd. v. Jaladhi

Overseas Pte Ltd., 585 F.3d 58 (2d Cir. 2009)). “While the scope of the district court’s equitable

vacatur power has not been defined by the United States Supreme Court or the Fifth Circuit, the


        11
          See also Williamson v. Recovery Ltd. Partnership, 542 F.3d 43, 51 (2d Cir. 2008) (“Despite our
general policy of allowing maritime attachments, we have nonetheless found that, even when a plaintiff
meets the procedural requirements for obtaining a maritime attachment, the district court may nonetheless
vacate such an attachment for equitable reasons. ‘Rule E(4)(f) is designed to satisfy the constitutional
requirement of due process by guaranteeing to [the property owner] a prompt post-seizure hearing at which
[the property owner] can attach the complaint, the arrest, the security demanded, or any other alleged
deficiency in the proceedings.’”) (quoting Advisory Committee’s Note to 1985 Amendment to
Supplemental Rule E(4)(f)) (alterations in original).

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Second Circuit has held that equitable vacatur is appropriate under any of the following conditions:

‘1) the defendant is subject to suit in a convenient adjacent jurisdiction; 2) the plaintiff could obtain

in personam jurisdiction over the defendant in the district court where the plaintiff is located; or

3) the plaintiff has already obtained sufficient security for the potential judgment, by attachment

or otherwise.’” Knox, 2019 WL 3203396, at *2 (citing Aqua Stoli, 460 F.3d at 445).

        The Fourth and Ninth Circuits have both cited with approval the equitable vacatur test

announced in Aqua Soli, and the Eleventh Circuit has affirmed a district court’s vacatur of an

attachment based on “an equitable exception of the general rule upholding maritime attachments.”

Knox, 2019 WL 3203396, at *3 (citing Vitol, S.A. v. Primerose Shipping Co., 708 F.3d 527, 537

(4th Cir. 2013) (quoting Aqua Stoli, 460 F.3d at 447)); ProShipLine Inc. v. Aspen Infrastructures

Ltd., 609 F.3d 960, 969 (9th Cir. 2010) (“we agree with and adopt the contours of equitable vacatur

laid out by the Second Circuit”); McDermott Gulf Operating Co. v. Con-Dive, LLC, 317 F. App’x

67, 70 (11th Cir. 2010) (citing Aqua Stoli, 460 F.3d at 444-45).

        Importantly, although the Fifth Circuit has not explicitly adopted the equitable vacatur test,

the district courts in the Fifth Circuit (including this one) regularly apply it.             See, e.g.,

Agrocooperative Ltd. v. Sonangol Shipping Angola (Luanda) Limitada, No. 14-1707, 2015 WL

138114 (S.D. Tex. Jan. 8, 2015); Jensen v. Rollinger, No. 13-1095, 2014 WL 4539660, at *2 (W.D.

Tex. Sept. 11, 2014) (citing Icon Amazing, L.L.C. v. Amazing Shipping, Ltd., 951 F. Supp. 2d 909,

915 (S.D.Tex.2013)); Oldendorff Carriers GMBH & Co. v. Grand China Shipping (Hong Kong)

Co., Ltd., No. 12–074, 2013 WL 1628358, at *3 (S.D. Tex. Mar.28, 2013); Naftomar Shipping &

Trading Co. v. KMA Intern., S.A., 2011 WL 888951, *2 (S.D. Tex. Mar. 3, 2011); Austral Asia,

2012 WL 2567149, at *1 (citing Aqua Stoli, 460 F.3d at 445).




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        Here, equitable principles warrant vacating the Rule B attachments for the following

reasons: (1) Defendants are subject to suit in the Southern District of Florida, a convenient

jurisdiction to Plaintiff and Defendants; and (2) by arresting the CRYSTAL SYMPHONY and the

CRYSTAL SERENITY in the Commonwealth of The Bahamas, Plaintiff has obtained more than

sufficient security for its claims related to the bunkers at issue, rendering any Rule B attachment

in this action improper and wholly unnecessary.

        C.      Equitable Vacatur Is Warranted Because Defendants Are Subject to Suit in a
                Convenient Jurisdiction

        The U.S. District Court for the Southern District of New York’s opinion in China National

Chartering Corp. v. Pactrans Air & Sea Inc., 589 F. Supp. 2d 403 (S.D.N.Y. 2008), is highly

persuasive because it is well-reasoned and remarkably similar (both factually and procedurally) to

the instant case. Pactrans involved a shipment of damaged gypsum wallboard aboard China

National Chartering Corp.’s (“CNCC”) vessel M/V SANKO RALLY. The damaged cargo was

imported from China to Florida by Devon, through its freight forwarder Pactrans. Like this case,

“a good deal of litigation ensued” as a result of the dispute, including: (1) a lawsuit commenced

by Devon in the Northern District of Florida against the M/V SANKO RALLY, in rem, and against

Pactrans, in personam; (2) a lawsuit filed by Pactrans against Devon and CNCC in the Northern

District of Florida; and (3) a lawsuit commenced by CNCC in the Southern District of New York.

Id. at 404. Significantly, Pactrans obtained various Rule B attachments against Devon in the New

York action. In turn, Devon moved to vacate the attachments on equitable grounds. It specifically

argued that both Devon and Pactrans had appeared in personam in the Florida actions, and that the

Florida forum was convenient to both parties. Id. at 404-05.

        In its opinion vacating the Rule B attachments, the New York court correctly noted that the

question of vacatur hinged on whether the fact that Devon was subject to suit in the Northern


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District of Florida satisfied the Aqua Stoli factor requiring that Devon be subject to suit in a

“convenient adjacent jurisdiction.” Id. at 405. Before reaching a decision on that specific issue,

however, the court conducted a detailed, high-level analysis of Aqua Stoli. In particular, the New

York Court focused on the legal significance of the use of the word “adjacent” in the phrase

“convenient adjacent jurisdiction.” Quoting directly from Aqua Stoli, the court noted that equitable

vacatur was warranted where “the defendant can show that it would be subject to in personam

jurisdiction in another jurisdiction convenient to the plaintiff.” Id. One such “paradigmatic case”

of a “jurisdiction convenient to the plaintiff” would be a scenario in which “assets are located in

the Eastern District of New York but the defendant is located ‘across the river’ in the Southern

District.” Id. Significantly, the court in Pactrans emphasized that Aqua Stoli’s use of the phrase

“convenient adjacent jurisdiction” was in the context of that discussion regarding a “paradigmatic

case” or example. See id.

          Thus, taking the Aqua Stoli opinion as a whole, the court concluded that the use of the word

“adjacent” was not intended to limit a district court’s discretion to vacate a maritime attachment

on the basis of a defendant’s amenability to suit in personam in another convenient district only to

situations in which that other district literally abutted upon the district in which the attachment was

obtained. Id. at 405-06. Rather, the court correctly concluded that “the fundamental considerations

are whether the defendant in fact is subject to in personam jurisdiction elsewhere and, if so,

whether the district in which that is the case is convenient to the plaintiff or attaching party.” Id.

at 406.

          Having performed this rigorous analysis of Aqua Stoli, the Pactrans court held that, even

though Pactrans and Devon were strangers to the Northern District of Florida, both parties had

actively litigated the incident at issue in that forum. Id. at 406. Thus, the court concluded that



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Pactrans could not “be heard to complain of any inconvenience of litigating in the Northern District

of Florida inasmuch as it chose to file its own action against Devon there.” Id. Ultimately, the

court granted Devon’s motion to vacate the Rule B attachments on the basis that Devon had

established that it was subject to in personam jurisdiction in another forum that was convenient to

both Pactrans and Devon. Id.

        The instant case is indistinguishable from Pactrans. Here, Plaintiff first initiated suit in a

forum of its choosing—Miami—and one in which Crystal Cruises is undisputedly subject to

personal jurisdiction. Because Plaintiff itself chose that forum (and elected to file its first lawsuit

related to the bunkers at issue there), Plaintiff cannot possibly argue that the Southern District of

Florida is inconvenient.12      Accordingly, equitable principles warrant vacating the Rule B

attachments at issue in this case under the first Aqua Stoli factor, as defendants are subject to suit

in the Southern District of Florida and Plaintiff has perfected in personam jurisdiction against

Defendants in that forum.

        D.      Equitable Vacatur Is Also Warranted Because Plaintiff Has Already Obtained
                Sufficient Security in the Bahamas

        As previously discussed, equitable vacatur is also appropriate when the plaintiff has already

obtained sufficient security for its claims, by attachment or otherwise. In the case at bar, prior to

filing the Rule B attachments at issue in this Court, plaintiff arrested the CRYSTAL SYMPHONY

and the CRYSTAL SERENITY in the Bahamas. It cannot reasonably be disputed that the value

of those vessels — two luxury cruise ships with respective gross tonnages of 51,044 and 68,870

tons — far exceeds the $2 million in claims that are the basis of Plaintiff’s Rule B attachments.




        12
           That forum is also the forum in which Plaintiff claims to have delivered all of the bunkers at
issue. Thus, in addition to being the home of Crystal Cruises, it is also the judicial district in which the
events relevant to Plaintiff’s claims appear to have occurred.

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Accordingly, Plaintiff is grossly over-secured and the Rule B attachments serve no legitimate

purpose.

        One of the reasons for the existence of the Rule B process is to provide plaintiffs with a

mechanism to obtain security for a claim. See Malin Int’l Ship Repair & Drydock, Inc. v.

Oceanografia, S.A. de C.V., 817 F.3d 241, 244 (5th Cir. 2016). However, it logically follows that

when plaintiff obtains sufficient security through other means, such as by arresting a vessel, the

Rule B process becomes totally unnecessary. That is clearly the case here and the Rule B

attachments can and should be vacated on this additional basis.

III.    CONCLUSION

        All of the forgoing analysis leads to the same place—a plaintiff is not entitled to pursue a

Rule B attachment unless the specific attachment furthers one of Rule B’s legitimate purposes.

Where an attachment does not further such a purpose, it cannot be reasonably disputed that the

attachment is subject to vacatur under equitable principles. Courts have generally applied three

grounds for vacating Rule B attachments. Remarkably, two of those three are present here.

Because Plaintiff can (and has) obtained personal jurisdiction over Crystal Cruises in Florida, it

cannot arbitrarily seek Rule B attachments in other forums. That is precisely what Plaintiff has

done here and it is improper. Additionally (and independently from the first reason), Plaintiff is

drastically over-secured on its claims already, rendering further security unnecessary.

Accordingly, for either of these reasons, the Rule B attachments issued in this forum should be

vacated.




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                                           Respectfully submitted,

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                                           AND MARK C. HEALY, AS ASSIGNEE OF
                                           CRYSTAL CRUISES




                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 18th day of February, 2022, I electronically filed the

foregoing pleading with the Clerk of Court by using the CM/ECF system which will send a notice

of electronic filing to all counsel who are CM/ECF participants.


                                              /s/ Marc G. Matthews




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